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                                 UNITED STATE DISTRICT COURT
                                    DISTRICT OF COULUMBIA

UNITED STATES OF AMERICA                          )
          Plaintiff                               )       Criminal Case 21-CR-28
                                                  )
        v.                                        )       Hearing: February 3, 2023
                                                  )
WILLIAM ISAACS                                    )       Judge Amit P. Mehta
          Defendant                               )

               EMERGENCY MOTION TO CONTINUE DAUBERT HEARING

        COMES NOW Defendant William Isaacs, by the undersigned counsel, and hereby files

with this Honorable Court an emergency motion for a one-day continuance of the in-person

Daubert hearing, which is set for February 3, 2023 (1:30P), to Saturday, February 4, 2023; or

alternatively, to a later date (February 6 or February 10), if our expert (Dr. Laurie Sperry) can

appear virtually. Mr. Isaacs, who will appear in person, does not seek a continuance of the voir

dire or trial. The defense has consulted with the government and they oppose a continuance of

the hearing. However, although we cannot speak for the Government and guarantee such, we are

cautiously optimistic that there is a chance that the parties can work out a compromise to alleviate

the need to even have the hearing.

        In support hereof, Defendant states as follows:

        1.          Defendant was diagnosed with an autistic disorder when he was a small child.

        2.          There is no doubt that he has autism, which has played a significant and limiting

role in his life.

        3.          Experts have opined that an autistic disorder is a factor that should be considered,

when the mental state of someone with such a disorder is at issue.

        4.          Thus, Defendant timely notified the Government of its intent to call Dr. Laura

Sperry as an expert witness at trial.
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       5.      The Government concedes that Dr. Sperry is an expert in autistic disorders and does

not contest the incontrovertible proof that Defendant has autism.

       6.      On January 27, 2023, the Government filed its Motion to Exclude Evidence About

Defendant’s Alleged Mental Condition and Request for Daubert Hearing (Doc. 845) (“Daubert

motion”).

       7.      Later on January 27, this Court scheduled a hearing on the Daubert motion for

February 3 after jury selection concludes (Minute Order dated January 31, 2023). At that time,

undersigned counsel was fully prepared to appear in person for the hearing on February 3.

       8.      For the reasons that follow, the undersigned requests that the hearing be continued

to Saturday February 4, 2023 (if by live presentation) or to any day the following week, if Zoom

is allowed.

       9.      For many months, the undersigned has exclusively handled all substantive issues

concerning Defendant’s autism and related expert evidence.

       10.     The undersigned resides in Florida and is preparing to relocate to Washington,

D.C., for a continuous period of four to six weeks during this trial. Because he will be away from

his family, home, and office for this extended period, the undersigned must make a multitude of

various arrangements to ensure that his cases are covered and his law practice continues while he

is gone.

       11.     For the last few years, the undersigned has counseled an Iraq war veteran, who has

become a close friend and suffers from severe PTSD issues. Unfortunately, last week, the veteran

attempted to kill himself and injured others in the process. This traumatic event took time away

that the undersigned desperately needed to devote to this case, as well as to his law practice and




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family matters, and particularly to the Daubert motion. The traumatic event was literally a matter

of life and death that required the attention of the undersigned.

       12.     Thus, the undersigned has not had adequate time to prepare for the Daubert hearing

and the evidentiary presentation that will necessarily be required.

       13.     The undersigned has been working feverishly in an attempt to avoid making this

motion. But he has been unable to accomplish all the tasks he must take care of before traveling

to Washington for what could be multiple weeks of trial.

       14.     Therefore, the undersigned respectfully requests that the Daubert hearing be

rescheduled by one day—to Saturday, February 4, if possible--or to February 6 or February 10. If

the hearing does not occur this Saturday, then Dr. Sperry would need to appear by Zoom; she is

available anytime the afternoon of February 6 or 10.

       15.     This motion is made in good faith and not for delay. The undersigned has been

accommodating to the Government with respect to the Daubert issues, including arranging for an

interview of Defendant on the only day proposed by the Government and agreeing to virtually

every concession it requested.

       16.     We repeat that the Government opposes the request of Defendant to reschedule the

hearing.

       17.     A short delay in the Daubert hearing will not prejudice the Government or any

Defendants in this trial.

       18.     It would not be sufficient to assign this matter to another attorney for Defendant

because the undersigned has exclusively handled the Daubert issues.

       19.     This motion is made on an emergency basis because of the obvious time constraints.




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       WHEREFOERE, Defendant William Isaacs respectfully requests that this Honorable Court

continue the February 3 Daubert hearing.

                                           Respectfully submitted,

                                           _________/s/__________________
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                                           Counsel for Defendant William Isaacs




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                              CERTIFICATE OF SERVICE

       I hereby certify that Emergency Motion to Continue Daubert Hearing was filed with the

Clerk of the Court via ECF on Wednesday, February 1, 2023.

                                           Respectfully submitted,

                                           __________ /s/       ____
                                           Charles M. Greene, Esquire




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